                 1:23-cv-01078-JES-JEH # 1            Filed: 02/23/23        Page 1 of 9
                                                                                                         E-FILED
                                                                         Thursday, 23 February, 2023 04:35:00 PM
                                                                                    Clerk, U.S. District Court, ILCD

                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

TAYLOR BROWN,                                   )
    Plaintiff,                                  )
                                                )
v.                                              )
                                                )
UNKNOWN NORMAL POLICE                           )
OFFICERS,                                       )
                                                )
        Defendants.                             )         JURY DEMANDED

                                        CIVIL COMPLAINT
          NOW COMES Plaintiff, TAYLOR BROWN, by and through her attorneys, Bakos &

 Maisuria Law Group, complaining against Defendants Unknown Normal Police Officers

 individually, as follows:

                                          INTRODUCTION
     1. This action, arising out of the February 9, 2023 seizure of Taylor Brown and is brought

        pursuant to 42 U.S.C. § 1983 to address deprivations of Ms. Brown’s rights under the

        Constitution of the United States.

                                    JURISDICTION AND VENUE
     2. This Court has jurisdiction of the action pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §1367,

        and venue is proper under 28 U.S.C. § 1391(b). On information and belief, all parties

        reside in this judicial district, and the events giving rise to the claims asserted herein

        occurred within the district.

                                               THE PARTIES

     3. The Plaintiff, Taylor Brown, resides in the state of Illinois.

     4. Unknown Defendant Normal Police Officers were at all relevant times duly appointed

       police officers of the Town of Normal acting within the scope of their employment and
           1:23-cv-01078-JES-JEH # 1              Filed: 02/23/23   Page 2 of 9




  under color of law. They are being sued in their individual capacities.

                                             FACTS

5. On or about February 8, 2023, Plaintiff Taylor Brown was a resident of Normal and

  attending college in the area.

6. Late that evening, a fire erupted in her apartment.

7. Ms. Brown’s roommate called 9-1-1 to report the fire immediately.

8. Upon arrival, the police officers who responded to the call with the fire officials asked Ms.

   Brown to wait in a squad car that was parked in front of her residence until the officers

   were ready to speak to her.

9. Ms. Brown followed that direction.

10. Shortly thereafter, an Unknown Normal Police Officer asked Ms. Brown if she would be

   willing to go to the Normal Police Station to answer questions about the fire.

11. After being assured that she would not be questioned for a long period of time in light of

   how late it was, Ms. Brown agreed to be questioned and was transported to the station by

   an unknown female Normal Police Officer.

12. There was no probable cause to arrest Ms. Brown for any crimes at any time before she

   was transported to the Normal Police Station or at any time during the transport.

13. Ms. Brown arrived at the station with the transporting officer in the early morning hours

   of February 9, 2023.

14. Ms. Brown was left in a room for approximately 40 minutes after she arrived at the station

   and was not questioned by any Normal Police Officers during that time.

15. Tired, Ms. Brown exited the room and told the transporting officer that she wanted to be

   taken back to her vehicle at that time.

                                              2
           1:23-cv-01078-JES-JEH # 1             Filed: 02/23/23   Page 3 of 9




16. The transporting officer told Ms. Brown that she would take her back shortly and instructed

   Ms. Brown to wait for the transporting officer in the lobby.

17. Ms. Brown went to the lobby and waited as directed.

18. Shortly thereafter, the female transporting officer approached Ms. Brown and requested

   her cell phone.

19. When Ms. Brown asked the officer why she was requesting Ms. Brown’s cell phone, the

   officer told Ms. Brown that it was being seized as evidence related to the housefire.

20. There was no probable cause to seize Ms. Brown’s cell phone at that time.

21. There was no warrant permitting officers to seize Ms. Brown’s cell phone at that time.

22. Ms. Brown was not required under the law to relinquish her cell phone to any police officer

   at that time.

23. Ms. Brown then FaceTimed her mother, a Chicago Police Officer.

24. During the FaceTime call, Ms. Brown told her mother that she went to the station

   voluntarily and that the officer told Ms. Brown she would take her home but was not doing

   so.

25. Several officers began to surround Ms. Brown as she was on FaceTime with her mother.

26. Ms. Brown also informed her mother that the officers were surrounding her and that she

   was scared.

27. The officers proceeded to grab Ms. Brown’s wrists, and one officer applied pressure to the

   back of Ms. Brown’s ear while another Officer pulled her to the ground.

28. One officer placed his/her knee in Ms. Brown’s back.

29. At the moment that the first officer made physical contact with Ms. Brown’s person during

   this encounter, there was no probable cause to arrest Ms. Brown for any crimes.



                                             3
           1:23-cv-01078-JES-JEH # 1             Filed: 02/23/23   Page 4 of 9




30. At the moment that the first officer made physical contact with Ms. Brown’s person during

   this encounter, there was no reasonable suspicion based on articulable facts to seize Ms.

   Brown for any reason.

31. During this encounter, the phone fell from Ms. Brown’s hand causing the FaceTime call to

   disconnect.

32. Ms. Brown was handcuffed and arrested.

33. There was no probable cause to arrest Ms. Brown for any crimes at the time she was

   arrested.

34. Ms. Brown did not batter any police officer during the course of her arrest.

35. Ms. Brown did not assault any police officer during the course of her arrest.

36. Ms. Brown did not resist arrest at any time during the course of her arrest.

37. Ms. Brown was not charged with battering a police officer.

38. Ms. Brown was not charged with assaulting any police officer.

39. Ms. Brown was not charged with resisting arrest.

40. Ms. Brown was not charged with any crimes whatsoever as a result of her arrest or the

   preceding house fire.

41. Defendant(s) have/had no probable cause to arrest Ms. Brown for any crimes related to the

   housefire.

42. Defendants seized Ms. Brown’s phone upon her arrest.

43. Defendant(s) attempted to obtain a search warrant to search Ms. Brown’s cell phone, but

   the warrant was not approved by the State’s Attorney.

44. Defendants did not have probable cause to search Ms. Brown’s phone or to seize the phone

   at any time.



                                             4
           1:23-cv-01078-JES-JEH # 1              Filed: 02/23/23   Page 5 of 9




45. Despite that, Ms. Brown was not given her cell phone back from the officers until 3:30PM

   on February 9, 2023- approximately two hours after she was released from the custody of

   the McLean County Jail.

46. Ms. Brown was transported to the McLean County Jail from the Normal Police Station

   following her arrest.

47. While at the jail, Ms. Brown was subjected to an intrusive search where she was required

   to remove her clothing while a jail employee inspected her genitals for contraband.

48. Ms. Brown was released from the jail at approximately 1:00PM on February 9, 2023.

49. Ms. Brown was released from the county jail with no bond and no charges brought against

   her for any crimes.

50. As a result of the foregoing, Ms. Brown suffered physical pain, including bruising, sore

   muscles and lacerations to her wrists, and emotional trauma including but not limited to

   humiliation and severe emotional distress.

            COUNT I: 1983 FOURTH AMENDMENT –FALSE ARREST
                         (Against Unknown Defendant Officers)
51. Plaintiff incorporates all previous paragraphs as though fully set forth herein.

52. At all times relevant herein, Taylor Brown was vested with, possessed, and was

    guaranteed by the Fourth Amendment of the United States Constitution the right to be

    free from an unlawful search and seizure.

53. Unknown Defendant Officers, acting under the color of law, caused Ms. Brown to be

    seized at the Normal Police Station.

54. Unknown Defendant Officers did not have probable cause to believe that Ms. Brown had

    committed a crime either at the time that she was initially placed under arrest or any time

    thereafter.

                                              5
             1:23-cv-01078-JES-JEH # 1              Filed: 02/23/23   Page 6 of 9




  55. Unknown Defendant Officers did not have reasonable suspicion to believe that Ms. Brown

       had or was about to commit a crime when they seized Ms. Brown.

  56. Unknown Defendant Officers had no lawful justification for seizing Ms. Brown.

  57. Such actions constitute deliberate indifference to Ms. Brown's rights under the United

       States Constitution in violation of the Fourth and Fourteenth Amendments.

  58. Unknown Defendant Officers’ conduct in unlawfully seizing Ms. Brown was undertaken

       with malice, willfulness, and reckless indifference to Ms. Brown’s rights.

  59. As a direct and proximate result of the wrongful actions of the Unknown Defendant

       Officers, Ms. Brown suffered loss of liberty and severe emotional distress.

       WHEREFORE, the Plaintiff prays for judgment against Unknown Defendant Officers

for an award of reasonable compensatory and punitive damages, plus attorneys’ fees and costs.

           COUNT II: 1983 FOURTH AMENDMENT - EXCESSIVE FORCE
                  (Against All Unknown Individual Defendant Officers)
  60. Plaintiff incorporates all previous paragraphs as though fully set forth herein.

  61. At all times relevant herein the Plaintiff, Taylor Brown, was vested with, possessed and

      was guaranteed by the Fourth Amendment to the United States Constitution the right to be

      free from unreasonable, unjustifiable and excessive force.

  62. Unknown Defendant Officers deprived Ms. Brown of this Fourth Amendment right by

      pulling her to the ground by her wrists/arms, applying painful pressure to the back of her

      ear, forcing a knee in her back while holding her down to the ground, and applying double

      handcuffs to her wrist so tightly that her wrists were lacerated and bled.

  63. The actions of Unknown Defendant Officers were willful, intentional and malicious

      and/or done with reckless indifference to and callous disregard for Plaintiffs' rights.

  64. As a result of the Defendant Officers’ conduct, Ms. Brown suffered physical and emotional

                                                6
              1:23-cv-01078-JES-JEH # 1             Filed: 02/23/23   Page 7 of 9




      injuries.

       WHEREFORE, the Plaintiff prays for judgment against Defendant Officers jointly and

severally, for an award of reasonable compensatory and punitive damages, plus attorneys’ fees

and costs.

                              COUNT III: 1983- FAILURE TO
                                     INTERVENE
                  (Against All Unknown Individual Defendant Officers)
  65. Plaintiff incorporates all previous paragraphs as though fully set forth herein.

  66. All Unknown Defendants had a reasonable opportunity to prevent one another’s excessive

      force against Ms. Brown and unlawful seizure of Ms. Brown, but failed to do so.

  67. As a result of the Unknown Defendant Officers' failure to intervene, Ms. Brown suffered

      physical and emotional injuries as well as loss of liberty.

  68. Unknown Defendant Officers' misconduct was objectively unreasonable and was

      undertaken intentionally with malice, willfulness, and reckless indifference to Ms.

      Brown’s rights.

       WHEREFORE, the Plaintiff prays for judgment against Defendant Officers, jointly and

severally, for an award of reasonable compensatory and punitive damages, plus attorneys’ fees

and costs.

                         COUNT IV: BATTERY (state law claim)
                  (Against All Unknown Individual Defendant Officers)

  69. Plaintiff incorporates all previous paragraphs as though fully set forth herein.

  70. As set forth above, Unknown Individual Defendant Officers intentionally made physical

      contact with Ms. Brown without just cause. The physical contact was offensive and

      harmful.


                                                7
               1:23-cv-01078-JES-JEH # 1             Filed: 02/23/23   Page 8 of 9




   71. The actions of the Defendant Officers were intentional, willful, and wanton.

   72. The misconduct set forth herein was undertaken with intentional disregard for Ms.

       Brown’s rights.

   73. As a direct and proximate result of Defendant Officers’ misconduct, Ms. Brown

       sustained damages including physical and emotional pain and suffering..

        WHEREFORE, the Plaintiff prays for judgment against all Unknown Individual

 Defendant Officers, jointly and severally, for an award of reasonable compensatory and punitive

 damages, plus costs.

                                            JURY DEMAND
        Plaintiff requests trial by jury.
                                    NOTICE OF ASSIGNMENT
        Please be advised that all rights relating to attorneys’ fees have been assigned to the
undersigned counsel.



                                                      BY:    /s/ Abby D. Bakos
                                                             Abby D. Bakos
Bakos & Maisuria Law Group, LLC
1755 Park Street, Suite 200-1070
Naperville, Illinois 60563
833-800-2654
abby@bakosmaisuria.com
www.bakosmaisuria.com




                                                 8
              1:23-cv-01078-JES-JEH # 1            Filed: 02/23/23   Page 9 of 9




                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that she served the foregoing Complaint
upon all Parties of record via CM/ECF Electronic Filing on February 23, 2023.


                                                     Respectfully,



                                                    BY:    /s/ Abby D. Bakos
                                                           Abby D. Bakos
Bakos & Maisuria Law Group, LLC
1755 Park Street, Suite 200-1070
Naperville, Illinois 60563
833-800-2654
abby@bakosmaisuria.com
www.bakosmaisuria.com




                                               9
